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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
              v.                            )   Civil Action No. 1:16-cv-03088-
                                            )   ELR
STATE OF GEORGIA,                           )
                                            )
                    Defendant.              )
                                            )

           PLAINTIFF UNITED STATES’ OPPOSITION TO
      DEFENDANT STATE OF GEORGIA’S MOTION TO EXCLUDE
        EXPERT TESTIMONY OF ROBERT F. PUTNAM, PH.D.

      The United States brought this litigation to vindicate the rights of thousands

of public-school students with behavior-related disabilities in, or at risk of entering,

the Georgia Network for Educational and Therapeutic Support Program (“GNETS”

or “GNETS Program”) because of the State’s failure to serve them in more

integrated educational settings as required under Title II of the Americans with

Disabilities Act (“ADA”), 42 U.S.C. § 12131 et seq. The United States has

amassed substantial evidence in support of its claims, including the expert opinions

of Robert F. Putnam, Ph.D. relating to, among other things, the key therapeutic

services and supports that could help divert children with behavior-related
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disabilities from unnecessary placement in the GNETS Program and the State’s

failure to provide those services consistently or in sufficient amounts or intensity to

many students who need them. The State of Georgia (“the State”) now seeks to

exclude this valuable testimony in its entirety—a position wholly out of step with

the Eleventh Circuit’s application of Federal Rule of Evidence 702 and Daubert v.

Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).

      Because the State’s Motion to Exclude the Expert Testimony of Dr. Putnam

(“Motion”) rests on fatal errors of fact and law, it should be denied. The State

argues that Dr. Putnam’s opinions are not relevant or reliable because he “offers no

discernible methodology” and because his opinions lack a sufficient basis beyond

his own experience. ECF No. 428 at 2-3. But the State ignores almost entirely the

extensive research, data analysis, interviews, site visits, and documentary support

upon which Dr. Putnam relied in forming his opinions and that anchored his well-

established methodology. The full weight of that evidence, coupled with Dr.

Putnam’s decades of experience providing, researching, and consulting on

inclusive services for children with behavior-related disabilities, easily satisfies the

flexible standard for reliable expert testimony that Federal Rule of Evidence 702


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(“FRE 702”) establishes, particularly in a non-jury case such as this one. United

States v. Brown, 415 F.3d 1257, 1268-69 (11th Cir. 2005). Moreover, there can be

no question that Dr. Putnam’s testimony, which squarely addresses an element of

the United States’ prima facie case, will assist the Court in understanding the

evidence and determining the facts in issue.

      Instead of meaningfully engaging with Dr. Putnam’s expert opinions as

proffered, the State harps on what Dr. Putnam did not—and need not—do: conduct

“a workforce or cost study” or make individualized determinations for a

statistically significant sample of children in, or at risk of entering, the GNETS

Program. The State’s belief that Dr. Putnam’s expert testimony is irrelevant and

unreliable without those components reflects a basic misunderstanding of the

burden shifting framework in Olmstead litigation and, in any event, does not

provide a sufficient basis for excluding his opinions. The State’s criticisms,

however misguided, concerning the bases and sources of Dr. Putnam’s expert

opinions go to their weight rather than their admissibility. As Daubert makes

clear, “[v]igorous cross-examination, presentation of contrary evidence, and




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careful instruction on the burden proof” are the appropriate means of attacking

admissible evidence. 509 U.S. at 596.

   I.      Background

        The United States will prove at trial that the State of Georgia unnecessarily

segregates thousands of public-school students with behavior-related disabilities in

the GNETS Program, unlawfully separating them from their general education

peers and denying them equal educational opportunities. See United States’

Compl. at ¶ 1 (ECF No. 1). Under Title II of the ADA, the State is required to

provide the therapeutic services and supports it offers to students with behavior-

related disabilities in integrated educational settings when (a) the students are

appropriate for community-based services, (b) they do not oppose receiving such

services, and (c) such services can be reasonably accommodated. Olmstead v.

L.C., 527 U.S. 591, 607 (1998). See 42 U.S.C. § 12132.

        As part of its evidence related to (c) above (reasonable modifications), the

United States intends to offer the testimony of Dr. Robert Putnam, a licensed

psychologist and Doctoral-level Board-Certified Behavior Analyst with over 50

years of experience working with and on behalf of children with behavior-related


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disabilities at risk of restrictive educational or residential placement. Dr. Putnam is

a national authority on integrating school- and community-based behavioral health

services through multi-tiered systems of support (“MTSS”). He has authored

numerous peer-reviewed articles on the topics of MTSS, Positive Behavioral

Intervention and Supports (“PBIS”), and supporting students with behavior-related

disabilities in integrated educational settings. In his capacity as Executive Vice

President of the May Institute, Dr. Putnam has provided consultation to states and

school districts across the country regarding their implementation of evidence-

based therapeutic services and supports that can prevent restrictive educational

placements. Expert Report of Robert Putnam (“Putnam Report”) at 1-4 (ECF No.

428-1). Dr. Putnam’s qualifications are described in full in Appendix A to his

expert report.

      Applying his professional training and decades of experience in the fields of

behavioral psychology, applied behavior analysis, special education, and

behavioral interventions, Dr. Putnam has rendered six key opinions: (1) that

children with behavior-related disabilities who are at risk of restrictive educational

placements can be served, with limited exceptions, in general education schools


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within their communities; (2) that the therapeutic services that help students remain

in more integrated educational settings, and the frameworks for implementing

those services system-wide, are well-established; (3) that Georgia has adopted key

services and supports that could help prevent unnecessary placement in the

GNETS Program; (4) that Georgia has failed to provide those services and

supports in sufficient amount or intensity to students who need them; (5) that this

failure results in students unnecessarily being placed in the GNETS Program and

puts other students at serious risk of such placement; and (6) that the State could

decrease its reliance on the GNETS Program by making reasonable modifications

to its existing behavioral health service system. Putnam Report at 1.

      In support of these opinions, Dr. Putnam relied not only on his training and

decades of experience, but also on extensive scholarly research regarding inclusive

behavioral health services, site visits to over two dozens public schools in Georgia,

interviews of school staff and administrators, testimony by key State officials and

community-based service providers, publicly available documents concerning

Georgia’s behavioral health system of care, and his analysis of voluminous

information produced by the State in this litigation including data and documents


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relating to the provision of Medicaid-reimbursable behavioral health services to

children in or at risk of entering the GNETS Program. Putnam Report at 6. Dr.

Putnam attached to his report a complete list of the materials he considered—

totaling over 500 entries—in forming his expert opinions. Putnam Report at

Appendix B.

         As Dr. Putnam testified in his deposition by the State, the methodology that

he used to guide his assessments in this litigation is hardly novel. He has used the

same well-established methodology—recommending reasonable modifications

based on a combination of site visits, interviews of educational staff and

administrators, review of relevant scholarly research, and analysis of relevant

documents and data—for over 40 years in conducting program evaluations,

including at the state level. Deposition of Robert Putnam (“Putnam Dep.”) at 99:9-

18 (ECF No. 428-2).

   II.      Legal Standard

         To determine whether proffered expert testimony is admissible under FRE

702, courts apply a three-part test that considers: (1) whether the expert is qualified

to competently testify as to the matters they intend to address; (2) whether the


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expert’s methodology is sufficiently reliable under Daubert; and (3) whether the

expert’s testimony will assist the factfinder in understanding the evidence or

determining a fact in issue. United States v. Frazier, 387 F.3d 1244, 1260 (11th

Cir. 2004). As the Supreme Court emphasized in Daubert, the inquiry under FRE

702 is “a flexible one.” 509 U.S. at 594. The specific factors listed in Daubert,

where the expert testimony at issue concerned the chemical structure and effects of

a prescription drug marketed to the public, may or may not be pertinent

“depending on the nature of the issue, the expert’s particular expertise, and the

subject of his testimony.” Kumho Tire Co., Ltd. V. Carmichel, 526 U.S. 137, 150

(1999). Where the expert is addressing issues of “soft science,” courts may look

beyond the Daubert factors and consider the expert’s “knowledge, skill,

experience, training, or education.” Id. at 149. The flexible standard under FRE

702 is “even more relaxed” in the bench trial context because “[t]here is less need

for the gatekeeper to keep the gate when the gatekeeper is keeping the gate only for

[herself].” Brown, 415 F.3d 1268-69.

      As the 11th Circuit has emphasized, “a district court's exercise of its

gatekeeping responsibilities must not ‘supplant the adversary system or the role of


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the jury.’” Frazier, 387 F.3d at 1272 (quoting Allison v. McGhan Med. Corp., 184

F.3d 1300, 1311 (11th Cir. 1999)). See United States v. Ebron, 683 F.3d 105, 139

(5th Cir. 2012) (“The trial court’s role as a gatekeeper under Daubert is not

intended to serve as a replacement for the adversary system.”). Rather, as Daubert

makes clear, “[v]igorous cross-examination, presentation of contrary evidence, and

careful instruction on the burden proof” are the appropriate means of attacking

admissible evidence. 509 U.S. at 596.

   III.   Dr. Putnam’s Opinions Are Admissible

      Dr. Robert Putnam has rendered expert opinions on a central issue in this

litigation—whether the State can make reasonable modifications to its behavioral

health service system to prevent unnecessary placements in the GNETS Program.

Consistent with his approach to conducting program evaluations in other states, Dr.

Putnam formed those opinions based not only on his professional training, skill,

and experience but also on a rigorous review of scholarly research and extensive

information relating to the State’s system of care and its provision—or lack

thereof—of therapeutic services and supports to students with behavior-related

disabilities who are in, or are at risk of entering, the GNETS Program. Applying


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the flexible standard under FRE 702 and Daubert, Dr. Putnam’s expert testimony

is both relevant and reliable. The Court should reject the State’s arguments to the

contrary, which have no legal basis and disregard the substantial evidence and

well-established methodology upon which Dr. Putnam relied in forming his

opinions.

            a. Dr. Putnam’s Expert Opinions Will Aid the Court in Evaluating
               Whether Georgia Can Reasonably Modify its Service System to
               Prevent Unnecessary Segregation in the GNETS Program.

      Dr. Putnam’s expert opinions concerning how the State could reasonably

accommodate students with behavior-related disabilities in more integrated

educational settings go to an element of the United States’ prima facie case. 527

U.S. at 607 (1998). See 42 U.S.C. § 12132. Dr. Putnam is eminently qualified to

assist the Court in evaluating that issue, see Putnam Report at 1-4 & Appendix A,

and the State does not suggest otherwise in its Motion. Instead, the State argues

that Dr. Putnam’s expert opinions are irrelevant because he did not “analyze any

individual student for what would constitute appropriate services” and did not

“account for present realities in Georgia” by conducting a workforce study or a

cost analysis in connection with his proposed reasonable modifications. ECF No.


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428 at 11. But the State fails to engage with Dr. Putnam’s opinions as proffered or

grasp how they will be helpful to the Court in understanding the United States’

reasonable modification argument.

      In his expert report, Dr. Putnam identified a core set of evidence-based

interventions—including Functional Behavior Assessments and Behavior

Intervention Plans, Wraparound Services, Individual and Group Counseling, and

Family and Community Supports (collectively, the “Core Services”)—that help

students with behavior-related disabilities remain in more integrated educational

settings. Putnam Report at 6-16. He drew not only on his experience providing

and implementing these services successfully, but also on scholarly research

demonstrating their effectiveness. Id. at 6-16. This testimony concerning matters

“beyond the understanding of the average lay person” will be helpful to the Court.

See Frazier, 387 F.3d at 1262. It serves as a predicate for Dr. Putnam’s

overarching conclusion that the State could reasonably reduce its reliance on the

GNETS Program by expanding the same Core Services, which already exist in

Georgia. Putnam Report at 5, 54-55. For example, Dr. Putnam’s finding that the

State could serve more students in integrated educational settings by expanding its


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existing Wraparound Service—Intensive Customized Care Coordination (IC3)—

builds on his analysis of published studies showing that Wraparound Services,

when provided with fidelity, are effective in reducing disciplinary actions for

students with behavior-related disabilities.1 Putnam Report at 10.

      The connection between Dr. Putnam’s recommended reasonable

modifications and the research he brought to bear in support of his opinions was

apparently lost on the State, as its Motion fails even to acknowledge Dr. Putnam’s

literature review. Instead, the State seeks to bar his highly relevant testimony

based on something that Dr. Putnam did not and need not do: “analyze any

individual student for what constitutes appropriate services based on the unique

needs of the student.” ECF No. 428 at 11. That argument distorts the clear focus

of Dr. Putnam’s opinion, which is to establish the effectiveness of the Core

Services in supporting students with behavior-related disabilities in general

education settings. At most, the State’s contention that Dr. Putnam’s testimony



1
 See, e.g., Jonathan R. Olson, et al., Systematic Review and Meta-analysis:
Effectiveness of Wraparound Care Coordination for Children and Adolescents, 60
J. American Academy Child & Adolescent Psychiatry, 1353-1366, (Issue 11,
2021) (attached as Exhibit 1).

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would be even more helpful to the Court if it also incorporated individualized

analysis of appropriateness goes to the weight of his testimony and not its

admissibility.

      Relatedly, the State’s fixation on Dr. Putnam’s use of the term “standard of

care” is a red herring. ECF No. 428 at 2. At no point in his expert report does Dr.

Putnam suggest that the State is violating Title II of the ADA because it fails to

provide a “certain level of benefits to individuals with disabilities” or satisfy any

specific “standard of care” as discussed in Olmstead. 527 U.S. at 603. Rather, Dr.

Putnam uses the term “standard of care” for a separate purpose: to describe a set of

behavioral health interventions whose effectiveness is demonstrated in the

literature and that Georgia has already adopted. Putnam Report at 6-13. He found

that students who need the Core Services to remain in their general education

schools and avoid placement in the GNETS Program rarely receive them, either at

all or in sufficient amounts or intensity. Id. at 42-54. That is precisely the kind of

discriminatory result that Title II and Olmstead seek to prevent. 42 U.S.C. §

12132; 28 C.F.R. §§ 35.130(d), 35.130(b)(7)(i); Olmstead, 527 U.S. at 599-600,

607. The State’s confusion about what Dr. Putnam has opined on should not


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prevent the Court from hearing his credible testimony on issues central to this

litigation.

       The State’s final challenge to the relevance of Dr. Putnam’s opinions—

namely, that Dr. Putnam’s proposed reasonable modifications are “impossible” and

therefore irrelevant because he did not conduct a detailed cost analysis or a

workforce study—suffers from the same flawed reasoning.2 ECF No. 428 at 11-


       2
        The State’s suggestion that the United States must prove, as part of its
prima facie case, the cost of implementing the United States’ recommended
reasonable modifications and how the State could overcome potential workforce
obstacles reveals a basic misunderstanding of the burden shifting framework in
Olmstead litigation. As courts have made clear, an Olmstead plaintiff’s initial
burden of identifying a reasonable modification is not a “heavy one” and consists
only of “articulating a reasonable accommodation.” Henrietta D. v. Bloomberg,
331 F.3d 261, 280 (2d Cir. 2003) (citing Burkowski v. Valley Cent. Sch. Dist., 63
F.3d 131, 138 (2d Cir. 1995)) (once the plaintiff suggests “the existence of a
plausible accommodation, the costs of which, facially, do not clearly exceed its
benefits . . . she has made out a prima facie showing that a reasonable
accommodation is available, and the risk of nonpersuasion falls on the
defendant”);; Frederick L. v. Dept. of Pub. Welfare, 364 F.3d 487, 492 n.4 (3d Cir.
2004). If a public entity chooses to assert its affirmative defense, it has the burden
of establishing that the requested relief would fundamentally alter the nature of its
services, programs, or activities. Olmstead, 527 U.S. at 603-06.

      Since Olmstead, courts have commonly found that plaintiffs satisfied the
reasonable modification element of their prima facie burden by showing that a
plausible accommodation is available, without the need to establish what it would


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12. That the State believes that Dr. Putnam’s opinions would be more persuasive

if supported by a workforce study or cost analysis does not mean that those

opinions are unhelpful to the Court as rendered. To the contrary, Dr. Putnam’s

well-grounded testimony regarding the reasonable steps the State could take to

reduce its reliance on the GNETS Program—including expanding existing

therapeutic services and supports and improving coordination across the State’s

child-serving agencies and community partners—is highly relevant. Dr. Putnam

drew on his decades of experience consulting with states and large school districts

on the implementation of inclusive services as well as a far-reaching review of

documents, data, deposition testimony, and other information relating to Georgia’s



cost to implement the accommodation. See, e.g., Disability Advocates, Inc. v.
Paterson, 653 F. Supp. 2d 184, 192 (E.D.N.Y. 2009); Henrietta D., 331 F.3d at
280-81; Messier v. Southbury Training Sch., 562 F. Supp. 2d 294, 298 (D. Conn.
2008) Radaszewski v. Maram, 383 F.3d 599, 611-12 (7th Cir. 2004).

      By contrast, the State points to no legal authority supporting its position that
the United States, through expert testimony or otherwise, is required to present
evidence in its case-in-chief about the cost of making the asserted reasonable
modifications or any barriers to implementation, such as workforce shortages.
Under the framework devised in Olmstead, that burden rests squarely on the State.
527 U.S. at 603-06. Frederick L., 364 F.3d at 492, n.4; Henrietta D., 331 F.3d at
280-81.

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existing system of care and the resources available to the State to support the

necessary remedial measures. Putnam Report at 1-6. The State ignores the full

weight of this evidence, attacking Dr. Putnam’s opinions based on what the State

thinks they should be instead of what those opinions are.

         b. Dr. Putnam Used a Well-Established Methodology to Reach
            Reliable Opinions Based on an Extensive Review of Relevant
            Data, Documents, and Other Information as Well as His
            Experience and Professional Training.

      Dr. Putnam formed his expert opinions in this litigation based on a wide

range of information—including documents, data, scholarly research, interviews,

site visits, and sworn testimony—relating to, among other things, the State’s

behavioral health system of care for children, the State’s provision (or lack thereof)

of therapeutic services and supports to students entering the GNETS program, and

the reasonable steps the State could take to serve more students in integrated

educational settings. In doing so, he deployed the same clearly articulated

methodology that he has used with success in conducting numerous program

evaluations over decades. Dr. Putnam’s testimony also reflects his extensive

“knowledge, skill, experience, training, [and] education” in the fields of behavioral

psychology and his experience working directly with states and school systems to

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implement more inclusive practices. See Kumho, 526 U.S. at 147. That testimony

is both well-supported and reliable, particularly when viewed through the lens of

the Eleventh Circuit’s relaxed standard for expert testimony in a non-jury-trial

case. Brown, 415 F.3d 1268-69.

      Without regard to the relevant legal standard, the State argues that Dr.

Putnam’s testimony is “too unreliable to be considered in this case” because he

“employed little to no methodology in reaching his conclusions” and because he

relied solely on his experience. ECF No. 248 at 13, 15-16. Like its unfounded

attack on the relevance of Dr. Putnam’s expert opinions, the State’s reliability

argument rests on a distorted reading of Dr. Putnam’s testimony that fails to

account almost entirely for the evidence that he marshalled in support of his

opinions.

      The State first seeks to “cast[] doubt on the reliability of Dr. Putnam’s

findings” regarding Georgia’s demonstrated failure to provide Medicaid-

reimbursable therapeutic services and supports, at all or in sufficient quantities, to

students who enter the GNETS Program. ECF No. 428 at 13; Putnam Report at

42-54. Anchoring those findings are Dr. Putnam’s review and analysis of


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voluminous data produced by the State in discovery showing the Medicaid-billable

services that students in GNETS in School Year 2020 (“SY2020”) and School

Year 2022 (“SY2022”) received from 2017 to 2022. Putnam Report at 42. Based

on that analysis, Dr. Putnam concluded that, although the vast majority of GNETS

students are enrolled in Medicaid or PeachCare for Kids, many of those students—

including over one-third of students in GNETS in SY2020 and over one-quarter of

students in GNETS in SY2022—did not receive any Medicaid services during the

five-year period. Putnam Report at 43. Dr. Putnam further concluded that the

therapeutic Medicaid services students did receive were often provided in small

amounts or to just a tiny fraction of students. Id.

      For example, just nine percent (223) of the nearly 2,400 Medicaid-enrolled

students in GNETS in SY2022 received Intensive Customized Care Coordination

(IC3) at any point between 2017 and 2022, even though the State designed this

service for children with intensive behavioral health needs who may be at serious

risk of restrictive placement. Id. at 33, 43-44. Of those students who received IC3

in any amount during the five-year period, far fewer received it in the 180 days or

365 days immediately preceding their admission to the GNETS Program, when


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this critical service might have helped them remain in a more integrated

educational setting. Id. at 45-48. Dr. Putnam traced this pattern of service

underutilization across the SY2020 and SY2022 GNETS cohorts and across key

therapeutic interventions, ultimately finding that many students in GNETS have

not received the Medicaid-reimbursable services and supports—either at all or in

sufficient quantities or intensity—that could help them avoid placement in the

GNETS Program. Id. at 43-52.

      In its Motion, the State does not even attempt to engage with the facts and

analysis that inform Dr. Putnam’s opinion regarding the severe lack of therapeutic

services for students entering the GNETS Program. The State instead stands up a

“straw man,” knocks it down, and asks the Court to bar Dr. Putnam’s reliable and

largely unrebutted testimony on that basis. Specifically, the State suggests Dr.

Putnam failed to use “a standardized method to reduce or eliminate bias and

subjectivity” or a statistically significant sample when reviewing information about

seven students who were enrolled in GNETS between 2020 and 2022. ECF No.

428 at 13-14. But the State fundamentally misunderstands the function of that

review, which was not to draw generalizable conclusions based on a representative


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sample but solely to illustrate his findings from his data analysis. Putnam Dep. at

257:19-259:4.

      As Dr. Putnam explained in his expert report, he “pulled the records” 3 of

seven students at random “[i]n order to better see how [the] lack of services

impacts students who were admitted to GNETS.” Putnam Report at 52.

Consistent with that limited purpose, Dr. Putnam first noted that two of the seven

students were enrolled in Medicaid or PeachCare for Kids but received no

Medicaid services during the five-year period under review. Dr. Putnam’s

testimony highlights the experiences of two students whose records he reviewed,

including one—“Tyler,” a Latino 7th grader who entered GNETS in SY2020 and

remained enrolled through SY2022—who did not receive any therapeutic

Medicaid services prior to his admission to GNETS. Putnam Report at 52-53.

These vignettes add color to Dr. Putnam’s testimony, shifting the focus to the



      3
        Dr. Putnam did not review full educational or medical records in
connection with these seven children. Instead, he reviewed information obtained
from the State relating to each child’s age, gender, race/ethnicity, primary
behavioral health diagnosis, date(s) of admission to the GNETS Program,
enrollment in Medicaid or PeachCare for Kids, and the Medicaid services they
received from 2017 to 2022.

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children and families whose civil rights are at stake in this litigation. But they do

not form the primary basis of any of Dr. Putnam’s expert opinions, including about

whether students receive the Core Services in sufficient quantity and intensity

before entering the GNETS Program. By centering this part of its reliability

argument around Dr. Putnam’s illustrative case reviews while ignoring entirely the

extensive data analysis, documents, and other evidence upon which he relies, the

State obscures the record and does nothing to discredit Dr. Putnam’s testimony or

underlying methodology.

      The State’s next attack on the reliability of Dr. Putnam’s testimony suggests,

again despite all evidence to the contrary, that he offers no basis beyond his

training, skills, and experience in opining on what constitutes “appropriate

services” for students with behavior-related disabilities who are at risk of

restrictive educational placement. ECF No. 428 at 14-16. As discussed above in

response to the State’s relevance argument, see supra at 10-16, Dr. Putnam brings

to bear a wealth of scholarly research to bolster his opinions concerning the

effectiveness of the Core Services in helping students—even those with severe

behavior-related disabilities—remain in integrated educational settings. Putnam


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Report at 6-13. How Dr. Putnam measures “effectiveness” in meeting the needs of

students with such disabilities likewise is deeply rooted in the academic literature,

as reflected in his written testimony. Id. Increased academic performance,

decreased office discipline referrals, and enhanced social-emotional status are not

outcome measures that Dr. Putnam conjured up, as the State would have this Court

believe.4 ECF No. 428 at 14. Those same measures are prioritized in the academic

literature on multi-tiered systems of support, which Dr. Putnam himself has

worked to develop over decades.5 Putnam Report at 6-10, 16-20.

      Dr. Putnam’s well-supported expert opinions bear no resemblance to the

“conclusory statements devoid of factual or analytical support” that this Court



      4
        The State’s argument is particularly perplexing given that DBHDD relies
on the same outcome measures in the Georgia Apex Program, which seeks “a
reduction of children and youth in Georgia with unmet mental health needs, fewer
discipline referrals, and increased academic performance among the children and
youth who receive this school-based mental health service.” APEX Contract
FY2020, ABH000004, US0013064, at 23 (attached as Exhibit 2).
      5
        See, e.g., Mark D. Weist, et al., A randomized controlled trial on the
interconnected systems framework for school mental health and PBIS: Focus on
proximal variables and school discipline, 94 J. School Psychology 49-65 (2022)
(attached as Exhibit 3).


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excluded in Scheinfeld v. LM Gen. Ins. Co., 472 F. Supp. 3d 1329 (N.D. Ga. 2020).

In that case, the Court found that the defendant’s expert, though qualified to opine

on the cause and duration of mold damage to the plaintiffs’ property, failed to

provide any explanation for why he reached his conclusions beyond invoking the

“universal scientific method” and his own experience. Id. at 1339-40 (internal

quotation marks omitted). Here, by contrast and as detailed above, Dr. Putnam

anchors his expert testimony not only with his training, knowledge, experience, but

also extensive data, documents, testimony, scholarly research, and other qualitative

information obtained in discovery or from public sources.6 While the sources upon

which Dr. Putnam relied in support of his opinions may have escaped the State’s

attention, they are not mysterious: Dr. Putnam catalogues them meticulously in the


      6
         The Eleventh Circuit’s decision in Frazier—the only other legal authority
that the State advances in support of its reliability argument—is inapposite for the
same reasons. In that case, the defendant sought to offer the expert testimony of a
forensic investigator about a sexual assault. 387 F.3d at 1252. The expert testified
that his opinion was based on “his experience” and a reference text, but “never
explained how his own experience, or the texts he mentioned, supported his
[specific] opinion.” Id. at 1265. The expert even conceded that he “was not
familiar with any scientific literature” on the topic. Id. at 1253. The Court held
that his testimony was unreliable because he “offered precious little in the way of a
reliable foundation or basis for his opinion.” Id. at 1265.


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body of his expert report and the attached list of materials considered. Putnam

Report at Appendix B.

      In a final effort to suppress Dr. Putnam’s relevant and reliable testimony, the

State seizes on stray remarks by Dr. Putnam during his deposition that it contends

reveal his “complete lack of knowledge or fundamental misunderstanding” of

aspects of Georgia’s state government and education system.7 ECF No. 428 at 16-

17. But some of those aspects—whether the Georgia Department of Education is

authorized to hire or fire school principals, for example—have little bearing on Dr.

Putnam’s expert opinions. In other places, the State’s characterization of Dr.

Putnam’s testimony is at best uncharitable and arguably misleading.

      When asked by counsel for the State whether “there is anything that [the

Geogia Department of Behavioral Health and Developmental Disabilities] can do

to require [a] provider to participate on an [Apex] team,” Dr. Putnam responded,

“I’m not sure they could require that, but they could influence it.” Putnam Dep. at



      7
        The State makes no effort to substantiate its assertions concerning Dr.
Putnam’s “lack of knowledge or fundamental misunderstanding” of relevant
aspects of Georgia’s state government based on anything in his carefully
considered written testimony.

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180:25-181:7. That answer hardly indicates “a complete lack of knowledge or

fundamental misunderstanding” of how the State operates the Georgia Apex

Program. Indeed, in response to the immediately preceding question Dr. Putnam

confirmed his understanding—entirely accurate—that participation in the Apex

Program is voluntary for community-based behavioral health service providers.

Putnam Dep. at 180:16-23.

        In any event, this is precisely the kind of argument that Daubert makes clear

should be advanced through vigorous cross-examination and presentation of

contrary evidence, rather than by seeking to exclude the expert’s testimony

altogether. 509 U.S. at 596.

   IV.     Conclusion

        For the above reasons, the United States respectfully requests that the Court

deny the State’s Motion to Exclude the Testimony of Dr. Robert Putnam. ECF No.

428.




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Dated: November 21, 2023

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                         L.R. 7.1(D) CERTIFICATION

      I certify that this Joint Status Report has been prepared with one of the font

and point selections approved by the Court in Local Rule 5.1(C). Specifically, this

brief has been prepared using 14-pt Times New Roman Font.




                                             /s/ Patrick Holkins
                                             Patrick Holkins
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the foregoing document with the

Clerk of Court using the CM/ECF system, which automatically sent counsel of

record e-mail notification of such filing.

                                             This 21st Day of November, 2023



                                             /s/ Patrick Holkins
                                             Patrick Holkins
